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 1                                                         CHIEF JUDGE RICARDO S. MARTINEZ
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9   VOLGA-DNEPR UK LTD.,                              No. 2:20-cv-00800-RSM
10                           Plaintiff,                ORDER RE PLAINTIFF’S RULE
                                                       41(a)(1(A)(ii) VOLUNTARY DISMISSAL
11            v.                                       WITHOUT PREJUDICE
12   THE BOEING COMPANY AND
     BOEING COMMERCIAL AIRPLANES,
13   A DIVISION OF THE BOEING
     COMPANY,
14
                             Defendants.
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              Based on the Stipulation of the parties filed October 23, 2020, by Plaintiff Volga-Dnepr
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     UK Ltd. (“VDA”) and Defendant The Boeing Company (“Boeing”), IT IS ORDERED that
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     VDA’s Complaint filed May 27, 2020, is DISMISSED WITHOUT PREJUDICE pursuant to
19
     Fed. R. Civ. P. 41(a)(1)(A)(ii).
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              DATED this 27th day of October, 2020.
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                                                   A
                                                   RICARDO S. MARTINEZ
                                                   CHIEF UNITED STATES DISTRICT JUDGE
26

      AGREED ORDER RE PLAINTIFF’S                                              Perkins Coie LLP
      VOLUNTARY DISMISSAL                                                1201 Third Avenue, Suite 4900
                                                                           Seattle, WA 98101-3099
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                  Case 2:20-cv-00800-RSM Document 41 Filed 10/27/20 Page 2 of 2




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      AGREED ORDER RE PLAINTIFF’S                                   Perkins Coie LLP
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